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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Southern District
                                                __________ District of
                                                                    of New York
                                                                       __________

                         Kyle Donovan                             )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                      Civil Action No. 18 Civ. 06950
                                                                  )
          East Twelfth Street Tenants Housing                     )
            Development Fund Corporation,
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) East Twelfth Street Tenants Housing Development Fund Corporation (HDFC)
                                       527 East 12th Street
                                       New York, New York 10009




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       T. Bryce Jones
                                       Jones Law Firm, P.C.
                                       43 W 43rd Street
                                       Suite 180
                                       New York, NY 10036


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:            08/03/2018                                                                /s/ D. Howie
                                                                                     Signature of Clerk or Deputy Clerk
